89 F.3d 829
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Spellman B. SMITH, Jr., Plaintiff--Appellant,v.Ronald J. ANGELONE, Defendant--Appellee.
    No. 96-6482.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 20, 1996.Decided July 2, 1996.
    
      Spellman B. Smith, Jr., Appellant Pro Se.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for a temporary restraining order and/or a preliminary injunction.   Appellant sought to prevent the implementation of a prison regulation governing contraband.
    
    
      2
      To the extent that Appellant appeals the denial of a temporary restraining order, we dismiss the appeal for lack of jurisdiction because the order is not appealable.   This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.   Loan Corp., 337 U.S. 541 (1949).   The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      3
      To the extent that Appellant appeals the denial of injunctive relief, we have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Smith v. Angelone, No. CA-96-190-AM (E.D.Va. Feb. 20, 1996).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED IN PART AND DISMISSED IN PART
    